                Case 3:18-cv-03651-AGT Document 67 Filed 06/14/19 Page 1 of 2




 1   DENNIS J. HERRERA, State Bar #139669
     City Attorney
 2   CHERYL ADAMS, State Bar #164194
     Chief Trial Deputy
 3   KELLY COLLINS, State Bar #277988
     SHEILA JOHNSON, State Bar #284468
 4   Deputy City Attorneys
     Fox Plaza
 5   1390 Market Street, 6th Floor
     San Francisco, California 94102-5408
 6   Telephone:    (415) 554-3914
     Telephone:    (415) 554-3859
 7   Facsimile:    (415) 554-3837
     E-Mail:       kelly.collins@sfcityatty.org
 8   E-Mail:       sheila.johnson@sfcityatty.org

 9
     Attorneys for Defendants
10   CITY AND COUNTY OF SAN FRANCISCO,
     ALLEN NANCE, SAMUEL NWIGWE, TONI POWELL,
11   ROGER GAINEY, AND KAREN SANCHEZ

12
                                         UNITED STATES DISTRICT COURT
13
                                      NORTHERN DISTRICT OF CALIFORNIA
14
      TUREKO STRAUGHTER, individually and             Case No. 18-cv-03651 EDL
15    as the guardian for minor K.R.; and K. R., a
      minor, by and through his guardian TUREKO       DEFENDANTS’ NOTICE OF
16    STRAUGHTER                                      UNAVAILABILITY OF COUNSEL

17            Plaintiffs,                             Trial Date:        February 3, 2020

18            vs.

19    CITY AND COUNTY OF SAN
      FRANCISCO, ALLEN NANCE, SAMUEL
20    NWIGWE, TONI POWELL, ROGER
      GAINEY, KAREN SANCHEZ, and Does 1-
21    30, inclusive,

22            Defendants.

23

24

25

26

27

28
      Defs’ Notice of Unavailability of Counsel        1                     n:\lit\li2018\190519\01366493.docx
      Case No. 18-cv-03651 EDL
                Case 3:18-cv-03651-AGT Document 67 Filed 06/14/19 Page 2 of 2




 1           TO PLAINTIFFS AND TO THEIR ATTORNEYS OF RECORD:

 2           PLEASE TAKE NOTICE that, counsel for Defendants City and County of San Francisco,

 3   Allen Nance, Samuel Nwigwe, Toni Powell, Roger Gainey, and Karen Sanchez (Collectively

 4   “Defendants”) Deputy City Attorney Sheila Johnson will be unavailable for depositions, motions,

 5   court appearances, filing oppositions to motions and responding to discovery requests and similar

 6   matters that require her immediate attention from close of business on July 25, 2019 up until August 4,

 7   2019. Further, Ms. Johnson is the sole attorney responsible for this matter; therefore, scheduling

 8   matters during the above period could subject the offending party or counsel to sanctions. Tenderloin

 9   Housing Clinic, Inc. v. Sparks (1992) 8 Cal.App.4th 299.

10

11   Dated: June 14, 2019
12                                                      DENNIS J. HERRERA
                                                        City Attorney
13                                                      CHERYL ADAMS
                                                        Chief Trial Deputy
14                                                      KELLY COLLINS
15                                                      SHEILA JOHNSON
                                                        Deputy City Attorneys
16

17                                                By:         /s/ Sheila Johnson
                                                        SHEILA JOHNSON
18
                                                        Attorneys for Defendants
19                                                      CITY AND COUNTY OF SAN FRANCISCO,
                                                        ALLEN NANCE, SAMUEL NWIGWE,
20                                                      TONI POWELL, ROGER GAINEY, AND
                                                        KAREN SANCHEZ
21

22

23

24

25

26

27

28
      Defs’ Notice of Unavailability of Counsel               2                      n:\lit\li2018\190519\01366493.docx
      Case No. 18-cv-03651 EDL
